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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 DON LIPPERT, et al.,                                 )
                                                      )
                        Plaintiffs,                   )    No. 10-cv-4603
         v.                                           )
                                                      )    Judge Jorge L. Alonso
 LATOYA HUGHES, et al.,                               )
                                                      )
                        Defendants.                   )

                              NOTICE OF FILING UNDER SEAL

To:    All counsel of record.

        Pursuant to Section V.E of the Consent Decree (Dkt. 1557 at 20), the reports of the
Monitor to the Court and Parties are to be filed initially under seal, thereafter to be filed in the
public docket after thirty (30) days unless either Party shows cause as to why some or all of the
report should remain under seal. In accordance with this order, Plaintiffs hereby file the Eighth
Report of the Monitor, Dr. Jack Raba, including Appendix A, under seal.

DATED: November 13, 2024                                  Respectfully submitted,

                                                          By: /s/ Camille E. Bennett
                                                          One of Plaintiffs’ attorneys

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